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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


Michael Argentieri, Pro Se,

                                                               Civil Action No. 1:20-cv-00806
                                   Plaintiff,

         v.
                                                               Hon. Lawrence J. Vilardo
Town of Evans (Municipality);
Town of Evans Supervisor Mary Hosler;
Town of Evans Director of Planning and Development
and Agricultural Board Ex-Officio Will Smith (Bill);
Town of Evans Councilwoman Jeane Macko;
Town of Evans Councilman & Agricultural Board
Liaison Mike Schraft;
Jeneen Hill Code Enforcement & Agricultural Board
Ex-Officio;
Vicky Kurek, Agricultural Board Member, Individually
and in their Official Capacities,


                                   Defendants.


                         NOTICE OF MOTION TO DISMISS
Nature of Action:                  Alleged civil rights violations under 42 U.S.C. § 1983.

Moving Party:                      Defendants.

Directed To:                       Plaintiff.

Date and Time:                     To be set by the Court.

Place:                             United States District Court for the Western District of New
                                   York, Robert H. Jackson Courthouse, 2 Niagara Square,
                                   Buffalo, New York 14202.

Supporting Papers:                 Declaration of Henry A. Zomerfeld, Esq., dated September
                                   22, 2022, with exhibits; and Memorandum of Law, dated
                                   September 22, 2022.
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Answering Papers:                  Pursuant to Local Rule of Civil Procedure 7(b)(2)(B), absent
                                   an order from the Court, Plaintiff has fourteen (14) days after
                                   service of the motion to file and serve responding papers,
                                   and Defendants shall have seven (7) days after service of the
                                   responding papers to file and serve reply papers. Defendants
                                   intend to file a reply.

Relief Requested:                  An order granting the Defendants’ motion to dismiss
                                   Plaintiff’s Complaint for lack of subject matter jurisdiction
                                   and for failure to state a claim, and upon the dismissal of the
                                   Complaint, a grant of attorneys’ fees, costs, and
                                   disbursements, along with such other and further relief as is
                                   just and proper.

Grounds for Relief:                Federal Rules of Civil Procedure Rule 12(b)(6), 42 U.S.C.
                                   § 1988, and case law.

Oral Argument:                     Requested.


DATED:        September 22, 2022
              Buffalo, New York



                                          HODGSON RUSS LLP
                                          Attorneys for Defendants

                                          By: /s/ Henry A. Zomerfeld
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